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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )
                                    )                 4:05CR3032
          v.                        )
                                    )
SILVANO MICHEL,                     )
                                    )                    ORDER
                  Defendant.        )
                                    )




     IT IS ORDERED:

     Defendant’s counsel’s motion to withdraw, filing 60, is
granted. The Federal Public Defender for the District of
Nebraska shall provide the court with a draft appointment order
(CJA Form 20) for substitute counsel bearing the name and other
identifying information of the CJA Panel attorney identified in
accordance with the Criminal Justice Act Plan for this district.

     DATED this 31st day of August, 2005.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
